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, FOAM 4980-14, NOV 97

Case 1:24-cr-10081-ADB Document 16-1 Filed 07/11/24 Page 1fpf7 EXHIBIT

DEPARTMENT OF THE ARMY

THIS IS TO CERTIFY THAT THE SECRETARY OF THE ARMY HAS AWARDED

THE ARMY COMMENDATION MEDAL

WITH “V” DEVICE
no SERGEANT JUSTIN M. CHAPPELL
BRAVO COMPANY, 157 BATTALION, 328° INFANTRY REGIMENT, TASK FORCE TITAN

FOR VALOROUS AND MERITORIOUS ACTIONS WHILE ENGAGED IN DIRECT COMBAT OPERATIO
SUPPORT OF OPERATION ENDURING FREEDOM IX ON 27 APRIL 2009. SERGEANT CHAPPELL’S CQ
AND SELFLESS DEDICATION IN A COMBAT ZONE, UNDER THE MOST EXTREME OF CIRCUMSTANC
CONTRIBUTED TO THE FIGHT AGAINST THE GLOBAL WAR ON TERRORISM. SERGEANT CHAPPE!
REFLECT GREAT CREDIT UPON HIMSELF, TASK FORCE SPARTAN, COMBINED JOINT TASK FORCE
UNITED STATES ARMY.

ON THIS 4TH DAY OF AUGUST 2009

Permanent Order # 216-065
HQ, 3-10 IBCT, TF Spartan
FOB Shank, Afghanistan
APO AE 09364

DAVID B. HAIGHT
COL, IN
Commanding

Case 1:24-cr-10081-ADB Document 16-1 Filed 07/11/24 Page 2 of 7

RECOMMENDATION FOR AWARD
For use of this form, see AR 600-8-22; the proponent agency is DCS, G-1.

For valor/heroism/wartime and all awards higher than MSM, refer to special instructions in Chapter 3, AR 600-8-22.

1.TO 2. FROM 3. DATE (YYYYMMDD)
CDR, TF SPARTAN CDR, B CO, TE TITAN
APO AE 09354 APO AE 09364 Par IOIZF
PART I - SOLDIER DATA
4, NAME (Last, First, Middle Initial) 5. RANK 6. SSN
CHAPPELL, JUSTIN M., SGT ee
7, ORGANIZATION 8. PREVIOUS AWARDS
B CO, 1-32 INF, 3D IBCT, 10TH MTN AAM-2
FOB ALTIMUR, APO AE 09364
9. BRANCH OF SERVICE 10. RECOMMENDED AWARD 11. PERIOD OF AWARD
a. FROM b. TO
Amy ARCOMV 20090427 20090427
12. REASON FOR AWARD
42a. INDICATE REASON 12b. INTERIM AWARD | YES Sd NO 12c, POSTHUMOUS 13. PROPOSED PRESENTATION DATE
. IF YES, STATE AWARD GIVEN (YYYYMMDD)
VALOR ves({ | no I 20091001

PART II - RECOMMENDER DATA

14. NAME (Last, First, Middle Initial)
CAMACHO, BRANDON R.

15. ADDRESS

B CO, 1-32 INF, 3D IBCT, 10TH MTN DIV (LI)

16. TITLE/POSITION 17. RANK FOB ALTIMUR, AFGHANISTAN
PLATOON SERGEANT 58G APO AE 09364 3
18. RELATIONSHIP TO AWARDEE 19. SIGNATURE 7
PLATOON LEADER Bancber) (pnractic-

PART Ill - JUSTIFICATION AND CITATION DATA (Use specific bullet examples of meritorious acts or service)

20. ACHIEVEMENTS

AGHIEVEMENT #1”
SEE ATTACHED NARRATIVE.

ACHIEVEMENT #2

ACHIEVEMENT #3

ACHIEVEMENT #4

21, PROPOSED CITATION

SEE ATTACHED CITATION

DA FORM 638, APR 2006

REPLACES DA FORM 638-1.
PREVIOUS EDITIONS OF DA FORM 638 ARE OBSOLETE.

Page 1 of 3
APD PE v3.00ES
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Narrative Page
SGT JUSTIN M. CHAPPELL / ARCOM-V

Gn April 27. 2009 Battle Company, 3rd Platoon was tasked with conducting Key leader Engagements in the villave of
Charkh, 425 VC 9470 40 10. Upon arriving at the Charkh District Center, the platoon dismounted. leaving, an element with the vehicles
to provide over watch, while the other conducted key leader engagements in the 1own bazaar. Sergeant Justin M. Chappell. The

Weapons Squad Leader. was in charge of positioning the trucks in a security perimeter around the District Center.

The determined enemy began their attack froma nearby orchard. engaging the southem portion of the vehicle patrol base.
SGT Chappell immediately spotted two enemy personnel attempting to maneuver ana ridge line to attack his position in the northern
section of the vehicle patrol base. SGT Chappell immediately ordered his gunner, PVF Ramsey. to cngaze the enemy. Upon receiving
fire. the enemy moved into a nearby orchard, concentrating their machine gun and RPG fire onto two vehicles. SGT Chappell without
hesitation ran across the open courtyard of the district center 150 meters to the two trucks that were receiving an intense amount of fire
from the enemy. The two gunners were pinned down in the turret by the enemy. only [50 meters away. SGT Chappell jumped onto the
truck and began giving fire commands to the gunner. He then moved 50 meters across open ground to the other truek and began giving
fire commands with rounds ricocheting off the trucks and RPG's impacting nearby. ‘The wo gunners. seeing SGT Chappell move
between the two trucks still under a great deal of machine gun and RPG fire and without duress, boosted their fighting spirit, engaging
the enemy with an everwhelming amount of machine gun tire. SGT Chappell continuously moved between the two trucks viving
accurate fire commands which caused a short hull in the firefight. This pause allowed the rest of the platoon to consolidate al the
district center. Upon the return of a machine gun team. SGT Chappell collected his men arid moved to a second story building. which
had an excellent vantage point. SGT Chappell. still under a heavy amount of machine gua and RPG fire, put the gun inte action, viving
both accurate and lethal fire commands, This new machinegun pusition had a devastating effect on the resilient enemy. causing then to

retreat from the orchard, not to be seen in the area for the rest of the day.

SGT Chappell distinguished himself with valor by willingly leaving the safety of nearby Hesco barriers. exposing himself to
enemy fire and possible injury in order to lead and motivate his Soldiers. His calm and collected leadership and unwavering courage

while under intense enemy fire resulted in the defeat of adelermined and hardened fae.

* cee gal Case 1:24-cr-10081-ADB Document 16-1 Filed 07/11/24 Page 4 of 7
Citation Page

FOR VALOROUS AND MERITORIOUS ACTIONS WHILE ENGAGED IN DIRECT COMBAT AGAINST AN ARMED ENEMY IN
SUPPORT OF OPERATION ENDURING FREEDOM IX. SERGEANT CHAPPELL’S COURAGE AND SELFLESS DEDICATION IN
A COMBAT ZONE, UNDER THE MOST EXTREME OF CIRCUMSTANCES, GREATLY CONTRIBUTED TO THE FIGHT AGAINST
THE GLOBAL WAR ON TERRORISM. SERGEANT CHAPPELL’S ACTIONS REFLECT GREAT CREDIT UPON HIMSELF, TASK
FORCE SPARTAN, COMBINED JOINT TASK FORCE-82 AND THE UNITED STATES ARMY.

Cpe as

DA FORM 4980-14, NOV 97

DEPARTMENT OF T]

THIS 18S TO CERTIFY THAT THE SECRETARY OF THE ARMY HAS AWARDED

THE ARMY COMMENDATION MEDAL

TO . SERGEANT JUSTIN M. CHAPPELL
TASK FORCE TITAN

FOR EXCEPTIONAL AND MERITORIOUS SERVICE WHILE ASSIGNED AS A SQUAD LEADER.
SERGEANT CHAPPELL’S SUPERB LEADERSHIP, EXPERTISE AND COMMITMENT TO EXCELLENCE
WAS INSTRUMENTAL IN THE SUCCESS OF TASK FORCE SPARTAN IN SUPPORT OF OPERATION
ENDURING FREEDOM IX. HIS SELFLESS SERVICE AND DEDICATION TO DUTY ARE IN KEEPING
WITH THE HIGHEST TRADITIONS OF MILITARY SERVICE AND REFLECTS GREAT CREDIT UPON
HIMSELF, TF SPARTAN, COMBINED JOINT TASK FORCE-82 AND THE UNITED STATES ARMY.

FROM 10 JANUARY 2009 TO 10 JANUARY 2010
ON THIS 28TH DAY OF JULY 2009

DAVID B. HAIG
COL, IN
Commanding

Permanent Order # 209-053
HQ, 3-10 IBCT, TF Spartan
FOB Shank, Afghanistan
APO AE 09364

Case 1-24-Cr-1008it-ADB- Document 16-1 Fied O//11/24 Page 6 of 7
RECOMMENDATION FOR AWARD
For use of this form, see AR 600-8-22; the proponent agency is DCS, G-1.

For valor/heroism/wartime and all awards higher than MSM, refer to special instructions in Chapter 3, AR 600-8-22.

1.TO 2. FROM 3. DATE (YYYYMMDD)
CDR, TF SPARTAN CDR, B CO, TF TITAN
APO AE 09364 APO AE 09364 20090630
PART | - SOLDIER DATA
4. NAME (Last, First, Middle Initial) 5. RANK 6, SSN
Chappell, Justin M. SGT PRAeKREROD
7. ORGANIZATION 8. PREVIOUS AWARDS
B CO, 1-32 IN, 3D IBCT, 10TH MTN DIV (LI) AAM-2
FOB ALTIMUR, APO AE 09364
9. BRANCH OF SERVICE 40. RECOMMENDED AWARD 11. PERIOD OF AWARD
a, FROM b. TO
Army ARCOM 20090110 20100110
12, REASON FOR AWARD
{2a. INDICATE REASON 12b. INTERIM AWARD | [YES [<j NO] 12c. POSTHUMOUS 13. PROPOSED PRESENTATION DATE
IF YES, STATE AWARD GIVEN as (MierebO}
SVC yes[ | NO 20100115
PART I] - RECOMMENDER DATA
74. NAME (Last, First, Middle Initial) 75. ADDRESS
Bunn, James S$. BCO, 1-32 IN, 3D IBCT, 10TH MTN DIV (LI)
16. TITLE/POSITION 17, RANK FOB ALTIMUR, AFGHANISTAN
Platoon Sergeant SEC APO AE 09364 ,
18. RELATIONSHIP TO AWARDEE 19. SIGNATURE [ro
Siperiiant ' BUNN.JAMES.STEVEN Sins: ©

PART Ill- JUSTIFICATION AND CITATION DATA (Use specific bullet examples of meritorious acts or service)

20. ACHIEVEMENTS -

ACHIEVEMENT #1

SGT Chappell deployed to Eastern Afghanistan as a member of Task Force Titan in support of Operation Enduring Freedom [X and X.
During the deployment he performed his duties as both an Infantry Line Squad Leader and Weapons Squad leader in 3rd Platoon, Battle
Company, Ist Battalion, 32nd Infantry Regiment, enhancing the stability and security of the region.

ACHIEVEMENT #2

On 24 March 2009 while pulling security at the Afghan National Police Traffic Control Point, insurgent elements opened fire on the
patrol base with RPG's and small arms. While under direct enemy fire, SGT Chappell, without regard to his own safety, moved to an
M1151 gun truck armed with an M240B machine gun and maneuvered it into a position which allowed it to effectively suppress the
enemy. This allowed the Platoon the advantage to maneuver on and destroy the enemy.

ACHIEVEMENT #3

On both 03 May 2009 and 12 May 2009 while acting as Weapons Squad Leader, SGT Chappell's element was engaged by the enemy while
conducting operations in the vicinity of the Charkh District Center. SGT Chappell's leadership, experience, and aggressiveness were key
in his element's success in repelling the enemy and defending the District Center. On 12 May 2009, he personally ensured SPC Carrick,
who had sustained a shrapnel injury to the left shoulder, was properly treated and moved to the Platoon's Casualty Collection Point.
ACHIEVEMENT #4

SGT Chappell always volunteered himself and his Squad for complicated and challenging missions. His Squad excelled in an ever
changing combat environment, adapting to a dangerous and elusive enemy and completing every mission given. SGT Chappell participated
in numerous joint patrols and Operations Screw Driver, Blazing Saddles and Dusty Trails. His aggressiveness and technical and tactical
knowledge as an Infantryman have contributed immensely to the Global War on Terror. ,

21, PROPOSED CITATION

FOR EXCEPTIONAL AND MERITORIOUS SERVICE WHILE ASSIGNED AS A SQUAD LEADER. SGT CHAPPELL'S SUPERB
LEADERSHIP, EXPERTISE AND COMMITMENT TO EXCELLENCE WAS INSTRUMENTAL IN THE SUCCESS OF TASK FORCE
TITAN IN SUPPORT OF OEF IX AND X. HIS SELFLESS SERVICE AND DEDICATION TO DUTY ARE IN KEEPING WITH THE
HIGHEST TRADITIONS OF MILITARY SERVICE AND REFLECTS GREAT CREDIT UPON HIMSELF, TASK FORCE TITAN, TASK
FORCE SPARTAN AND THE UNITED STATES ARMY.

REPLACES DA FORM 638-1, Page 1 of 3
DA FORM 638, APR 2006 PREVIOUS EDITIONS OF DA FORM 638 ARE OBSOLETE. APD PE v3,00ES
NAME (Last, First, Middit-4f

Chappell, Justin M. SPSHR=60L8
PART IV - RECOMMENDATIONS/APPROVAL/DISAPPROVAL
22. | certify that this individual is eligible for an award in accordance with 22a. SIGNATURES " B 122b. DATE (YYYYMMDD)
AR 600-8-22; and that the information contained in Part | is correct. SERESTE A DIRE STEW ART, 20090705
23. INTERMEDIATE a. TO CDR, TF TITAN b. FROM CDR, BCO, TF TITAN c. DATE (YYYYMMDD)
AUTHORITY APO AE 09364 APO AE 09364 20090705
d. RECOMMEND: D<] APPROVAL [| | pisappRovaL [| UPGRADE TO: [| DowNGRADE To:
e. NAME (Last, First, Middle Initial) f. RANK
WINGEART, JASON M. CPT
g. TITLE/POSITION h. SIGNATURE ————— Sp gee ee
COMPANY COMMANDER WINGEART JASON. Mamas =©
i, COMMENTS

A solid performer in a position usually held by a SSG

24, INTERMEDIATE a.TO CDR, TF SPARTAN
AUTHORITY APO AE 09364

b. FROM CDR, TF TITAN
APO AE 09364

c, DATE (YYYYMMDD)
0 0f0 2) 2

d. RECOMMEND: [| APPROVAL [_] DISAPPROVAL

| | UPGRADE TO:

[ ] DOWNGRADE TO:

e. NAME (Last, First, Middle Initial)
GUKEISEN, THOMAS B.

f. RANK
LTC

g. TITLE/POSITION
SQUADRON COMMANDER

h. SIGNATURE

i. COMMENTS

25. INTERMEDIATE | a. TO b. FROM c. DATE (YYYYMMDD)
AUTHORITY

d. RECOMMEND: [| APPROVAL [| pisaepRoval |_| upGRADE To: [| DOWNGRADE To:

e. NAME (Last, First, Middle Initial) f. RANK

g. TITLE/POSITION h. SIGNATURE

i. COMMENTS

26. APPROVAL a. TO ORDERS ISSUING AUTHORITY b. FROM CDR, TF SPARTAN c. DATE (YYYYMMDD)
AUTHORITY APO AE 09364 ZOFIOTLR

d. DX approven [| DISAPPROVED [| RECOMMEND UPGRADE TO: [| DOWNGRADE To:

e. NAME \Last, First, Middle Initial) f. RANK

HAIGHT, DAVID B. wv OL oy wf

g. TITLE/POSITION h. HGNATYRE 775", Wie

2 o So fava f
BRIGADE COMMANDER A tof age miley |
i, COMMENTS us

PART V - ORDERS DATA

27a, ORDERS ISSUING HQ
TF SPARTAN, 3D IBCT, 10TH MTN DIV (LI)
FOB SHANK, APO AE 09364

27b. PERMANENT ORDER NO.

104-059

28a. NAME OF ORDERS APPROVAL AUTHORITY
ALLEYNE, ERIC E.

28b. RANK
MAJ

28c. TITLE/POSITION
BRIGADE ADJUTANT

29. APPROVED AWARD

ARCOM

28d. OS LL ee

30. DATE (YYYYMMDD)

LOCADIZE

31. DISTRIBUTION

1-File
L-OMPEF
1-Unit
3-Individual

DA FORM 638, APR 2006 ZL C

Page 2 of 3
APD PE v3.00ES
